      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 1 of 27




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

FAIR FIGHT ACTION, et al.

      Plaintiffs,
                                              CIVIL ACTION
      v.
                                              FILE NO. 1:18-cv-05391-SCJ
BRAD RAFFENSPERGER, et al,

      Defendants.


   DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
     MOTION FOR TEMPORARY RESTRAINING ORDER AND
               PRELIMINARY INJUNCTION1

                             INTRODUCTION

      This Court denied Plaintiffs’ request for a temporary restraining order

because Plaintiffs could not show imminent harm. [Doc. 164]. They still

cannot. In addition, and as this Court recognized, Plaintiffs have known

about the scheduled regular list-maintenance program for months, and given

the 90-day window for conducting list maintenance under federal law, they

could easily calculate the deadline by which the State needed to act. Yet, they




1 Defendants are Secretary of State Brad Raffensperger and SEB Members

Rebecca Sullivan, David Worley, Seth Harp, and Anh Le. This response is
being filed by 5:00pm on December 17, 2019 per the Court’s Order [Doc. 164].
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 2 of 27




inexplicably did not ask this Court for relief until the day it was scheduled to

take place.

      Beyond these fatal flaws, Plaintiffs’ Motion for Preliminary Injunction

(“Plaintiffs’ Motion”) suffers from critical substantive errors as well: (1) it

seeks to address state-law claims in federal court; (2) Plaintiffs

misunderstand Georgia and federal law regarding voter-list-maintenance

efforts; and (3) Plaintiffs have provided no evidence that would “clearly

establish” a likelihood of success on the merits. McDonald’s Corp. v.

Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998).

                          FACTUAL BACKGROUND

      Georgia has engaged in list maintenance required by the National

Voter Registration Act (“NVRA”) since the NVRA became effective. This year,

the process began on September 24, 2019 when Chris Harvey, Director of

Elections for the Secretary of State, and Ryan Germany, General Counsel for

the Secretary of State, both authorized the start of the no-contact voter-list

maintenance process in the voter-registration system.2 Declaration of Chris


2 As articulated at the hearing on the temporary restraining order, stopping

the automatic maintenance process is far more difficult than reversing it.
Moving voters from cancelled status back to active status is a process that
can be completed overnight by providing a list of voter registration numbers
to the vendor, which then updates the database. Harvey Dec. at ¶ 4. The
Secretary of State’s office is isolating the voter-registration numbers of all

                                       -2-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 3 of 27




Harvey (“Harvey Dec.”), attached as Ex. A, at ¶ 3. On October 28, 2019, the

Secretary of State’s office announced that the “routine and legally required

updates to Georgia’s voter file” would take place in accordance with Georgia

law. Georgia Secretary of State’s Office Cleans Voter File by 4 Percent as

Required by Law,

https://sos.ga.gov/index.php/elections/georgia_secretary_of_states_office_clean

s_voter_file_by_4_as_required_by_law (October 28, 2019). Two days later, the

Secretary’s office released the entire database of voters (the “Database”), so

that individuals and organizations, like Plaintiff Fair Fight Action (“Fair

Fight”) could check the list and encourage individuals to take action to

maintain their eligibility. Id.

I.    Plaintiffs’ actions in response to the release of the list.

      Plaintiffs’ prior knowledge of the Secretary’s plans should not be in

dispute. Plaintiffs’ Amended Complaint challenges former state statutes

directly and, indirectly, the NVRA itself. [Doc. 41 at ¶¶ 69-81]. Despite

Plaintiffs’ facial challenge, rhetoric, and political and fundraising appeals, by

September, Fair Fight’s Chief Executive Officer could not state that the

State’s list-maintenance effort was wholly invalid:


individuals who were moved to cancelled status who were in Inactive status
for reason of No Contact and their respective last contact dates. Id. at ¶ 6.

                                      -3-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 4 of 27




      Q. Is it your personal opinion that all of those voters that were purged
      should not have been, or were there some that were within that group
      that were, in fact, ineligible to vote?

      A. I don’t know the answer to that.

Excerpts from Deposition of Lauren Groh-Wargo (“Groh-Wargo Dep.”),

attached as Ex. B, at 148:16-20.

      The following month, two days after the Secretary announced the voter-

list-maintenance effort, Fair Fight’s 30(b)(6) witness testified that the

organization was aware of the pending effort. Deposition of Fair Fight Action

(“FFA Dep.”), attached as Ex. C, at 174:16-176:8. Indeed, at least Fair Fight

used the pending list maintenance in fundraising solicitations. Tweet from

@fairfightaction on October 31, 2019, attached as Ex. D. Plaintiffs also

created a “tool” allowing what they claimed was easier navigation of the list

of voters released by the Secretary of State. Tweet from @fairfightaction on

November 25, 2019, attached as Ex. E.

      Plaintiffs continued to use the list-maintenance process as a political

tool throughout the month of November, recruiting four Democratic

presidential candidates to participate in a November phone bank to attempt

to reach voters on the cancellation list. Stephen Fowler, Presidential

Candidates Send Calls, Texts To Potential Purged Georgia Voters, GPB News,




                                      -4-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 5 of 27




https://www.gpbnews.org/post/presidential-candidates-send-calls-texts-

potential-purged-georgia-voters (November 21, 2019).3

      Plaintiffs’ fundraising purpose and political rhetoric reached a

crescendo just before the filing of Plaintiffs’ Motion. On December 15, 2019,

Fair Fight Inc. (Plaintiff Fair Fight Action’s affiliated political action

committee) sent an email from Stacey Abrams asking individuals to help it

meet its $2 million fundraising goal by comparing current Georgia

policymakers to the arrest of Ms. Abrams’ father in Mississippi when he

sought to help people register to vote many decades ago. Abrams fundraising

email, attached as Ex. F.

      Plaintiffs’ Motion was filed the next day and uses variations of the word

“purge” 70 times. [Doc. 159-1]. The total time between the filing of [Doc. 159]

and Fair Fight Action’s first tweet about the TRO was nine minutes.4 See

Tweet from @fairfightaction on December 16, 2019, attached as Ex. H.


3 Those candidates found people who were correctly on the cancellation list

because they had moved out of state: “‘I got someone who moved to
Kentucky,’ Klobuchar exclaimed.” Id.
4 If more evidence is required of the political nature of this motion, as the

hearing was starting yesterday, the Campaign Legal Center also sent out a
fundraising appeal based on this case, with Mr. Smith asking for donations:
“120,561 voters might be purged from Georgia’s voter rolls tonight. That’s
why I’m in Georgia right now, as Fair Fight Action’s counsel, standing up for
the voting rights of 120,561 voters who might be purged from the voter rolls
solely based on voter inactivity.” Email from CLC on December 16, 2019,

                                       -5-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 6 of 27




      The clearest evidence of Plaintiffs’ decision to use the voter-list-

maintenance effort for extra-litigation purposes is Plaintiffs’ concession in the

hearing on the temporary restraining order: Plaintiffs’ counsel acknowledged

knowledge of the NVRA’s deadlines and that the deadline for cancelling

voters before the 2020 elections is Christmas Eve, December 24, 2019.

O.C.G.A. § 21-2-234(i) (prohibiting list maintenance within 90 days of a

presidential preference primary); 52 U.S.C. § 20507(c)(2)(A). The bottom line

is that Plaintiffs have known of the Secretary’s efforts for months and only

after weeks of fundraising solicitations and inflammatory accusations against

Georgia’s elected officials did they seek any judicial relief.

              ARGUMENT AND CITATION OF AUTHORITY

      Plaintiffs correctly state the legal standard for obtaining a temporary

restraining order. [Doc. 159, p. 11]. But Plaintiffs cannot show that they can

carry the heavy burden on any of the four prongs.

      Because “a preliminary injunction is ‘an extraordinary remedy [it] is

never awarded as of right.’” Benisek v. Lamone, ___ U.S. ___, 138 S. Ct. 1942,

1943–44 (2018) (citation omitted). To obtain relief, Plaintiffs must “clearly


attached as Ex. G. Plaintiffs are utilizing this Court and their motions to
fundraise for their organizations, which they clearly have a First Amendment
right to do. But this Court should consider these efforts in the context of the
lack of reasonable diligence in bringing these claims to this Court.

                                       -6-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 7 of 27




establish the ‘burden of persuasion’ as to the four requisites of a preliminary

injunction.” Robertson, 147 F.3d at 1306 (emphasis added) (citation omitted).

These elements are (1) a substantial likelihood of success on the merits; (2)

irreparable injury without the injunctive relief; (3) the threatened injury

outweighs the “damaged the proposed injunction may cause the opposing

party;” and (4) the injunction would not be adverse to the public interest.” De

La Fuente v. Kemp, 679 Fed. Appx. 932, 934 (11th Cir. 2017). Indeed, the

extraordinary nature of the relief sought by Plaintiffs is heightened in the

context of elections, because of the public interest in orderly elections and the

integrity of the election process. Purcell v. Gonzalez, 549 U.S. 1, 4-5, 127 S.Ct.

5 (2006).

I.    Plaintiffs Are Not Likely To Succeed On The Merits.

      Plaintiffs advance the radical notion that there is “no justification” for

deregistering voters. [Doc. 159-1, p. 17]. This is directly contrary to the NVRA

and binding precedent from the United States Supreme Court and Eleventh

Circuit that apply the statute. See Husted v. A. Philip Randolph Inst., 138 S.

Ct. 1833, 1838 (2018); Bellitto v. Snipes, 935 F.3d 1192, 1203 (11th Cir. 2019).

Indeed, the Supreme Court expressly recognized that a key purpose of the

NVRA is to remove “ineligible persons from the States’ voter registration

rolls.” Husted, 138 S. Ct. at 1838. To get around this precedent, Plaintiffs

                                       -7-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 8 of 27




manufacture a conflict with Georgia law that a state court should decide in

the first instance. For this reason, Plaintiffs’ legal theory is barred by the

Eleventh Amendment, and Plaintiffs have provided no evidentiary basis to

allow this Court to conclude that anyone is actually harmed by the

Secretary’s actions.

      A.    The Supreme Court and Eleventh Circuit have already found the
            process used in Georgia complies with the NVRA.

      Whatever policy concerns Plaintiffs have about voter roll maintenance

efforts, they are required, in some fashion, by the federal government. 52

U.S.C. § 20507(a)(4). The method chosen by Georgia—both prior to and after

the enactment of H.B. 316—are contemplated by the NVRA5 and have been

upheld by the Supreme Court in Husted. 138 S. Ct. at 1842 (“as permitted by

the [NVRA], Ohio removes registrants only if they have failed to vote and

have failed to respond to a notice” (emphasis in original)). The Eleventh

Circuit recently recognized that the NVRA “encourages” states to “conduct[] a

general program of list maintenance that makes a reasonable effort to




5 A state is specifically authorized to remove the name of a registrant if that

registrant has “failed to respond” to a notice that is “a postage prepaid and
pre-addressed return card, sent by forwardable mail, on which the registrant
may state his or her current address,” with several included notices. 52
U.S.C. § 20507(d)(2).

                                       -8-
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 9 of 27




remove voters who become ineligible because of a change of address.” Snipes,

935 F.3d at 1203.

      Plaintiffs’ Motion does not argue that the Secretary’s voter-list-

maintenance efforts violate the NVRA. Instead, their claim is based

exclusively on a purported violation of state law that, in turn, violates

individuals’ federal constitutional rights. See [Doc. 159-1 at 22-23]. Plaintiffs

may even be arguing that the State’s change in the law in H.B. 316 removed

every state interest from the Anderson/Burdick balancing test, essentially

making the state’s prior laws per se invalid. But Plaintiffs cite to no case that

treats a state’s voting laws this way. Indeed, Plaintiffs cite to Billups, which

upheld the requirement to obtain a photo identification card, which is

arguably more burdensome than registering to vote in person or online or

returning a notice with postage prepaid. Common Cause/Georgia v. Billups,

554 F.3d 1340, 1354 (11th Cir. 2009) (“The [Plaintiffs] argue that the burden

is ‘severe’ and affects ‘between 5 and 10 percent of all registered voters,’

largely minorities, but the record tells a different story . . . The [Plaintiffs]

are unable to direct this Court to any admissible and reliable evidence that

quantifies the extent and scope of the burden imposed by the Georgia

statute”). As shown, there is no violation of H.B. 316, and as discussed below,

Plaintiffs’ argument violates the Eleventh Amendment.

                                        -9-
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 10 of 27




      B.    The Secretary’s office fully complied with state law.

      Plaintiffs apparently still do not understand the process for list

maintenance in Georgia. But reading the relevant statutes in context makes

the process clear. See Deal v. Coleman, 294 Ga. 170, 172-73 (2013).

      Before a voter is placed into cancelled status, Georgia law has two

different clocks that both must run prior to a voter being placed in cancelled

status (and a voter can always move back to active status prior to

cancellation):6

    From the Active to the Inactive List: if (1) a voter has had no contact

      with the election superintendent in the preceding five calendar years;

      (2) a confirmation notice is mailed to the voter and, (3) if the voter does

      not return it, then the voter is moved into “inactive” status. O.C.G.A. §

      21-2-234(a)(1), (2); (g). Voters in the inactive status can vote a regular

      ballot, just like voters in active status.

    From Inactive to Active: if at any point in the process, the voter has

      contact with election officials in which he or she confirms or updates his

      or her address, or updates his or her voter record through the


6 As discussed below, no voter is ever “removed” from the voter rolls which is

why the term “purge” is not appropriate in this context. Instead, the voter’s
status is changed to “cancelled,” which means the voter is not eligible to vote.
Harvey Dec. at ¶ 5.

                                       - 10 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 11 of 27




      Department of Driver Services, the voter is restored to active status.

      O.C.G.A. § 21-2-235(a), (d).

    From the Inactive List to Cancelled Status: if voters on the inactive list

      (1) have no further contact with election officials for two November

      general elections; (2) then another notice is mailed to the voter; and (3)

      if the voter fails to respond, then that voter’s status is cancelled.

      O.C.G.A. § 21-2-235(a) and (b).

      Plaintiffs’ motion confuses the two separate clocks for moving into

inactive status and moving into cancelled status. Even with the amendments

made by H.B. 316, there were already individuals on the inactive list who

had been placed in inactive status under the prior statute, which was a three-

year period of no contact.7 See O.C.G.A. § 21-2-234(a)(1) (2018). The Secretary

only performed list maintenance for voters who were already on the inactive

list under the prior statute and also triggered the second clock—no further

contact for two November general elections under O.C.G.A. § 21-2-235(a) and

(b). Put another way, when the General Assembly passed H.B. 316, it did not

7 Notably, the only amendment in H.B. 316 to O.C.G.A. § 21-2-235 was to add

the following at the end of the existing subsection (b): “Not less than 30 nor
more than 60 days prior to the date on which the elector is to be removed
from the inactive list of electors, the board of registrars shall mail a notice to
the address on the elector’s registration record.” H.B. 316 did not amend the
existing process for cancelling a voter in inactive status in O.C.G.A. § 21-2-
235.

                                      - 11 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 12 of 27




place all voters back in “active” status to restart both no-contact clocks. The

Secretary’s office is carrying out the exact direction of the Georgia General

Assembly: (1) moving people from active status to inactive status according to

the statute in effect at the time of the triggering event and (2) moving people

from inactive status to cancelled status according to the statute in effect at

the time of that triggering event.

      The Secretary’s office is fully complying with Georgia law. Plaintiffs

cannot show otherwise because of their apparent inability to understand the

applicable statutes.

      C.     Plaintiffs’ evidence does not clearly establish a likelihood of
             success on the merits.

      Of the likely tens of thousands of calls Plaintiffs made during their

efforts to contact voters on the Database, they identified only eight

individuals who claim to have an issue with the Secretary’s voter-list-

maintenance efforts. These declarations constitute the sole evidentiary basis

for Plaintiffs’ claims. But, even under Plaintiffs’ flawed interpretation of the

law, none are entitled to the relief Plaintiffs seek.8


8 The factual posture of this motion is identical to the challenge to the state’s

photo identification laws 10 years ago. Despite equally fervent political and
rhetorical advocacy, the Eleventh Circuit found that the plaintiffs “failed to
prove that any individual would bear a significant burden” because they
could not “identify a single individual who would be unable to vote because of

                                       - 12 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 13 of 27




            1.    Active-status voters.

      Four of the Declarants are active-status voters who have suffered no

injury and are in no danger of suffering any injury. Linda Bradshaw was sent

confirmation notices in June 2015 and November 2019. Harvey Dec. at ¶ 8.

Once she responded to the confirmation notice in December 2019, she was

placed back into active status and remains there today. Id. Ms. Bradshaw

also claims that she last voted in 2017 [Doc. 159-3], but the Secretary of

State’s audit logs indicate that the last time she voted was in the July 2010

Democratic primary, meaning she would still have been removed under

Plaintiffs’ nine-year timeline. Harvey Dec. at ¶ 8.

      Likewise Keme Hawkins is listed as an active voter with a note

confirming the correct address was updated in September 2019. Harvey Dec.

at ¶ 9. The notice Dr. Hawkins attached is not a cancellation notice and Dr.

Hawkins voted without incident in person in the municipal elections in

November 2019. Id.; [Doc. 159-12 at ¶ 8].

      Tommie Jordan correctly identified the difference in spelling of his first

name from the confirmation notice he received and his voter-registration

records. [Doc. 159-4 at ¶ 6]. Mr. Jordan (with his first name spelled correctly


the Georgia statute or who would face an undue burden to obtain a free voter
identification card.” Billups, 554 F.3d at 1354.

                                     - 13 -
        Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 14 of 27




as Tommie instead of Tommy) is an active voter in the registration database

and voted in both the 2016 Democratic Presidential Preference Primary and

the 2018 General Election. Harvey Dec. at ¶ 10. Mr. Jordan’s correctly

spelled records were not moved to cancelled status, which demonstrates that

the voter maintenance effort appropriately located a duplicate, misspelled

name.

      Similarly, Deepak Eidnani is also an active voter in the database,

voting in all recent elections. Harvey Dec. at ¶ 11. As Mr. Eidnani correctly

deduced, the record to which the confirmation notice was sent was a duplicate

record with his name misspelled. [Doc. 159-5, p. 4], Harvey Dec. at ¶ 11.

               2.   Failure to respond to correspondence.

      One voter is dissatisfied with policy decisions. Clifford Thomas

correctly remembers that he has not voted in a long time [Doc. 159-6],

because the Secretary of State’s records do not indicate that he ever voted,

meaning he also would be removed under Plaintiffs’ nine-year timeline.

Harvey Dec. at ¶ 15. Mr. Thomas received confirmation notices by mail in

June 2015 and November 2019 but failed to respond to any of those notices.

Id. at ¶ 15.




                                      - 14 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 15 of 27




            3.    Voters satisfying Plaintiffs’ nine-year timeline.

      Some voters insist they did not receive confirmation notices, but

Secretary of State records show that confirmation notices were sent and the

voters failed to respond. David Hopkins last voted in 2008 and received

confirmation notices in June 2015 and November 2019 but did not respond.

Harvey Dec. at ¶ 12. Charlesetta Young and Kilton Smith have no record of

voting and received confirmation notices in June 2015 and November 2019

but did not respond. Id. at ¶¶13, 14. These voters would have been removed

even under Plaintiffs’ nine-year timeline because of their lack of contact for

more than nine years.

      Thus, out of more than 120,000 voters and extensive efforts, Plaintiffs

have not identified a single voter who is being removed under the seven-year

timeline they allege is improper. Every voter declarant also only had to do

what Ms. Bradshaw did—contact the registrar and be placed back in active

status. Under these facts, Plaintiffs cannot “clearly establish” a likelihood of

success on the merits. Robertson, 147 F.3d at 1306.

      D.    Plaintiffs’ state-law-based challenge violates the Eleventh
            Amendment.

      Even if this Court were to accept Plaintiffs’ theory, their relief is barred

by the Eleventh Amendment. While Plaintiffs’ attempt to describe their



                                      - 15 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 16 of 27




claims as being based in federal constitutional law, Plaintiffs seek

declaratory and injunctive relief by asking this Court to adjudicate state law

for the first time. Put simply, Plaintiffs’ requested injunction requires this

Court to endorse their interpretation of state law. This relief is barred by the

Eleventh Amendment and State sovereign immunity, and even if it were not,

this Court should decline the invitation to decide a novel issue of state law in

this context.

            1.    The Eleventh Amendment precludes Plaintiffs’ legal
                  theory.

      The Eleventh Amendment generally bars claims against the State

Defendants in their official capacities. See Kentucky v. Graham, 473 U.S. 159,

169 (1985). While Ex Parte Young, 209 U.S. 123 (1908), provides for an

exception to Eleventh Amendment immunity, it does so only for prospective

injunctive relief grounded in a violation of federal law. See Pennhurst State

School & Hosp. v. Halderman, 465 U.S. 89, 105–106 (1984). Plaintiffs

apparently recognize the troubling nature of their state-law assertion,

suggesting in a footnote that their Motion is not rooted in state law. See [Doc.

159-1, p. 19 n. 6]. Plaintiffs cite the Eleventh Circuit’s holding in Brown v.

Georgia Department of Revenue for the proposition that their relief is

grounded in federal constitutional rights and is therefore permissible. 881



                                      - 16 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 17 of 27




F.2d 1018, 1023–24 (11th Cir. 1989). But this claim ignores the reality of

Plaintiffs’ Motion—it is a declaratory judgment claim regarding compliance

with H.B. 316 masquerading as a constitutional argument.

      Plaintiffs’ brief begins with some ten pages of (inaccurate) assertions

regarding state law and the Secretary’s practice of enforcing that law, with

only one passing reference to any federal right. See [Doc. 159-1, pp. 1–10]; see

also id. at 3 (“For this reason, [the Secretary’s enforcement of state law] will

violate the First and Fourteenth Amendments”). And their misplaced

interpretation forms the basis of the entirety of their federal claims and their

requested relief—Plaintiffs repeat their “nine-year” distinction or otherwise

re-assert misapplication of state law some seven times throughout the

argument section of their Motion. Id. at pp. 17–18, 20–21, 23–24. Further,

Plaintiffs’ requested relief is explicitly conditioned on their state-law

arguments, seeking to enjoin only list maintenance for the 120,561

individuals whose registrations will be canceled “on the basis of fewer than

nine years of inactivity,” not the entirety of the list-maintenance activities

and not even the entirety of inactivity cancellations. Id. at p. 25 (emphasis

added); see also [Doc. 159, pp. 1–2].

      This review of Plaintiffs’ Motion makes clear that they seek a

declaration regarding the proper interpretation of H.B. 316. If they were not

                                        - 17 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 18 of 27




doing so, Plaintiffs would instead move to enjoin all list-maintenance (or at

least list-maintenance for inactivity in its entirety) as unconstitutional—and

not only for those individuals whom they argue will be subject to the

Secretary’s interpretation of O.C.G.A. §§ 21-2-234 and -235 as modified by

H.B. 316. The Brown court acknowledged this reality in approving of relief

premised upon federal constitutional rights. 881 F.2d at 1023–24. Here,

unlike in Brown, Plaintiffs cannot succeed in suggesting their relief is based

in federal law when it requires this Court to determine a novel issue of state

law. “[I]t is difficult to think of a greater intrusion on state sovereignty than

when a federal court instructs state officials on how to conform their conduct

to state law,” and for that reason, Ex Parte Young is “inapplicable in a suit

against state officials on the basis of state law.” Pennhurst, 465 U.S. at 106.

This Court should accordingly decline Plaintiffs’ invitation to adjudicate a

state-law claim.

            2.     The Eleventh Amendment precludes Plaintiffs’
                   retrospective relief.

      Plaintiffs are also seeking retrospective relief which is beyond the scope

of Ex Parte Young. See Green v. Mansour, 474 U.S. 64, 68 (1985). For clarity,

there are three steps of the list-maintenance process which are relevant.

First, an elector is identified pursuant to O.C.G.A. § 21-2-234 as likely to



                                      - 18 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 19 of 27




have moved based on inactivity and is sent a confirmation notice. Second, if

the elector does not return the postage prepaid and preaddressed card,

confirming their continued residence within 30 days, the elector is moved to

the inactive list of voters. Id. Finally, if such an elector still makes no contact

between the point of becoming inactive and the second November general

election thereafter, the elector is again mailed a notice and his or her

registration is cancelled under O.C.G.A. § 21-2-235.

      Plaintiffs’ state-law arguments quibble with the interpretation of only

the first step, arguing that H.B 316’s five-year “inactivity” trigger should

retroactively apply. Plaintiffs’ arguments cannot be that the third piece of the

puzzle which the Secretary has now conducted—subsequent continued

inactivity for two general election cycles and cancellation—is

unconstitutional. If it were, Plaintiffs would be seeking relief for the entirety

of the 120,561 electors, not the subset based on “fewer than nine years of

inactivity.” [Doc. 159-1, p. 25]. In other words, Plaintiffs seek to have this

Court declare that the State violated the Constitution when it previously

determined a voter to be inactive pursuant to Georgia law, and not that the

State is currently violating federal law with respect to these electors and list

maintenance pursuant to O.C.G.A. § 21-2-235. That being the case, there is

no ongoing violation of federal law because the statutory changes to O.C.G.A.

                                       - 19 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 20 of 27




§ 21-2-234 have eliminated any alleged ongoing violation of constitutional

rights based on the three-year scheme which previously governed inactive

status. See Green, 474 U.S. at 74. Plaintiffs’ proposed relief is focused on the

inactivity of voters, not their cancellation, and thus is retrospective in nature

and “insufficient to overcome the dictates of the Eleventh Amendment.” Fla.

Ass’n of Rehabilitation Facilities, Inc. v. State of Fla. Dep’t of Health and

Rehabilitative Svcs., 225 F.3d 1208, 1219 (11th Cir. 2000).

            3.        Plaintiffs’ Motion should be heard first by a Georgia state
                      court.

      Since Plaintiffs’ Motion is predicated upon only one discrete subset of

list-maintenance activities that has not been adjudicated by state courts, this

Court should refrain from adopting Plaintiffs’ arguments on an unsettled

issue of state law. While Defendants believe (and have explained above) that

no ambiguity in the statute exists, should the Court find Plaintiffs’ state-law

contentions meritorious, the Court should abstain from deciding this novel

issue of state law.

      Plaintiffs’ Motion, insisting that a certain interpretation of state law

results in a constitutional violation, requires this Court to interpret a novel

issue of state law for the first time. The Supreme Court has held that “federal

courts should abstain from decision when difficult and unsettled questions of



                                        - 20 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 21 of 27




state law must be resolved before a substantial federal constitutional

question can be decided.” Hawaii Housing Auth. v. Midkiff, 467 U.S. 229, 236

(1984) (citing Railroad Comm’n of Tx. v. Pullman, 312 U.S. 496 (1941). “The

Pullman doctrine rests on the desirability of avoiding unnecessary decision of

constitutional issues.” Wright & Miller, Federal Practice and Procedure §

4242 Avoidance of Federal Constitutional Questions—When Abstention

Required. This is precisely the predicament Plaintiffs’ Motion foists upon this

Court—unlike Plaintiffs’ case writ large, Plaintiffs’ constitutional arguments

in their Motion are premised solely on their interpretation of O.C.G.A. §§ 21-

2-234 and -235, as amended by H.B. 316, and resolving that question would

resolve Plaintiffs’ apparent constitutional claims presented in their Motion.

       As Defendants noted in the December 16, 2019 Hearing on Plaintiffs’

Temporary Restraining Order, Plaintiffs have an adequate venue and method

to proceed in Georgia’s state courts—a writ of mandamus or prohibition. See

O.C.G.A. § 9-6-20 and -40. Moreover, setting aside the issue of adequate state

remedies, the Court can adjudicate Plaintiffs’ constitutional claims regarding

list maintenance at the trial. Accordingly, the Court should refrain from

adjudicating this novel state issue when Plaintiffs’ hastened Motion is

entirely unnecessary.




                                     - 21 -
       Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 22 of 27




II.    There is no irreparable harm because voters are not deleted
       from the database.

       As Mr. Harvey explains in his declaration and which the Court covered

extensively yesterday, there are no voters deleted from the database. Harvey

Dec. at ¶ 5. Instead, a particular record has the status changed from

“inactive” to “cancelled.” Id. As a result, there is no irreparable harm because

a record’s status can easily be updated to “active” or “inactive” in an

overnight database-updating effort by the vendor. Id.

III.   The equities do not favor a preliminary injunction and a
       preliminary injunction is not in the public interest.

       Plaintiffs devote barely more than a page to the equities and public-

interest prongs of their effort to obtain a TRO [Doc. 159-1, pp. 28-29]. But the

equities and public interest significantly disfavor granting a TRO that would

disrupt Georgia’s current statutory process.

       First, “a party requesting a preliminary injunction must generally show

reasonable diligence.” Benisek, 138 S. Ct. at 1944. As detailed above,

Plaintiffs have shown no diligence whatsoever in the efforts related to their

Motion. In addition, Plaintiffs fail to account for “the public interest in

orderly elections.” Benisek, 138 S. Ct. at 1944. Plaintiffs’ request is also far

more drastic than it appears. The NVRA provides that “a State may not

remove a registrant’s name on change-of-residence grounds unless either (A)

                                       - 22 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 23 of 27




the registrant confirms in writing that he or she has moved or (B) the

registrant fails to return a preaddressed, postage prepaid ‘return card’

containing statutorily prescribed content.” Husted, 138 S. Ct. at 1838-39

(emphasis added). If this Court prevents Georgia from removing voters from

its voter list through the no-contact process outlined in existing statutes,

individuals who moved out of the state and are no longer eligible to vote will

remain on the voter list.

      Further, list maintenance must be performed no later than 90 days

before the presidential preference primary. O.C.G.A. § 21-2-234(i); 52 U.S.C.

§ 20507(c)(2)(A). Granting Plaintiffs’ motion will ensure that no list

maintenance will take place until at least 2021 given the lateness of their

motion. Once the 2020 election cycle begins, there are elections almost every

90 days and federal law places further restrictions on list maintenance in

federal-election years. The state has an interest in the orderly conduct of

elections and election integrity, Purcell, 549 U.S. at 4-5, and preventing the

regular list maintenance for two entire years because of Plaintiffs’ last-

minute effort has the potential to interfere with the electoral processes in the

state over multiple years. Ultimately, the public interest in the orderly

conduct of elections would be thwarted by the preliminary injunction




                                      - 23 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 24 of 27




Plaintiffs seek, which would effectively end list-maintenance in Georgia for

two additional years.

      Plaintiffs did not exercise the diligence required to bring these issues

before the Court and fail to account for the massive changes their

preliminary injunction would wreak on the electoral system in Georgia. Even

if Plaintiffs could show a likelihood of success on the merits (which they

cannot, as discussed above), this Court should deny Plaintiffs’ request for a

preliminary injunction and Plaintiffs have provided no basis for the

restoration of limited universe of individuals who failed to respond to

multiple attempts to confirm they remain present in the state.

                            CONCLUSION

      Plaintiffs did not exercise reasonable diligence in bringing this

motion. Instead, they used their concerns as a means of raising funds

and failed to identify a single person that was harmed by the federally-

mandated voter maintenance efforts. This Court should deny Plaintiffs’

Motion and allow this case to continue to proceed through the regular

litigation process.




                                     - 24 -
Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 25 of 27




Respectfully submitted this 17th day of December, 2019.

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                             - 25 -
Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 26 of 27




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                             - 26 -
      Case 1:18-cv-05391-SCJ Document 172 Filed 12/17/19 Page 27 of 27




                   CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing DEFENDANTS’ RESPONSE IN

OPPOSITION TO PLAINTIFFS’ MOTION FOR TEMPORARY

RESTRAINING ORDER AND PRELIMINARY INJUNCTION was prepared

double-spaced in 13-point Century Schoolbook pursuant to Local Rule 5.1(C).


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                                   - 27 -
